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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                                       CASE NUMBER:
NUTRITION DISTRIBUTION LLC, AN ARIZONA
LIMITED LIABILITY COMPANY,                                2:15−cv−02212
                                        PLAINTIFF(S)

       v.
SUPPLEMENT LIFESTYLE, LLC, A CALIFORNIA
LIMITD LIABILITY COMPANY , et al.
                                                           NOTICE TO FILER OF DEFICIENCIES IN
                                                                ATTORNEY CASE OPENING
                                     DEFENDANT(S).




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